                       Case 2:07-cr-00145-MHT-WC Document 147 Filed 10/28/08 Page 1 of 6
  A0 245B     (Rev. O6/O5) Judgment in a Criminal Case
              Sheet!



                                         UNITED STATES DISTRICT COURT
                            MIDDLE                                     District of                               ALABAMA
          UNITED SATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                     V.

            MAR             DEWAN WATSON                                      Case Number:                     2:O7crl 45-02-MHT
                                                                                                                   (WO)
                                                                              USM Number:                      12234-002

                                                                              Michael L. Kidd
                                                                              Defendant's Attorney
THE DEFENDAI
X pleaded guilty to co       s)       is of the Felony Information on March 13, 2008

El pleaded nob conten        e to count(s)
   which was accepted        the court.
El was found guilty on       int(s)
   after a plea of not gi

The defendant is                  guilty of these offenses:

Title & Section                   Nature of Offense                                                            Offense Ended             Count
18 USC 4                          Misprision of a Felony                                                       3/22/2007                   is




       The defendant i        itenced as provided in pages 2 through                 6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform          of 1984.
El The defendant has b foundnot guilty on count(s)                    _____________________________________________________________
El Count(s) - - -                                             El is    El are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until al fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must noti1' the court and United States attorney of material changes in economic circumstances.

                                                                              October 23, 2008
                                                                              Date of Imposition of Judgment



                                                                                         of Judge




                                                                             MYRON H. THOMPSON. UNITED STATED DISTRICT JUDGE
                                                                             Name and Title of Judge


                                                                               IOf2_X)'kOt
                                                                              Date
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AO 245B      (Rev. 06/05) udgment in Criminal Case
             Sheet 2— lnlnnsonment
                                                                                                      Judgment - Page   2      of   6
DEFENDANT:                      MARTELL DEWAN WATSON
CASE NUMBER:                    2:07cr145-02-MHT


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 13 Months.


     X The court ma]        the following recommendations to the Bureau of Prisons:
          1. The court     commends that the defendant be placed in a facility near Montgomery, Alabama where his family may visit
          him.



     DThe defendant i remanded to the custody of the United States Marshal.

     DThe defendant r tall surrender to the United States Marshal for this district:

          oat - ________________                       a.m. 0 p.m. on
          o as notifiec by the United States Marshal.

     X The defendant s iall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          X before 2 p n. on             December 8, 2008
          0 as notified by the United States Marshal.
          [I as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this                 as follows:




          Defendant             on                                                       to

at                                                    with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
                         Case 2:07-cr-00145-MHT-WC Document 147 Filed 10/28/08 Page 3 of 6
AO 245B      (Rev. 06/0 5)       = in a Criminal Case
             Sheet 3 S           Release
                                                                                                            Judgment—Page       3     of          6
DEFENDANT:                    MARTELL DEWAN WATSON
CASE NUMBER                   2:O7crl 45-02-MHT
                                                         SUPERVISED RELEASE
Upon release from                      the defendant shall be on supervised release for a term of:

One Year



     The defendant ii          report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau         Prisons.
The defendant shall nt commit another federal, state or local crime.
The defendant shall n        unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defen         nt shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determii      I by the court.
0 The above drug                 condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance           (Check, if applicable.)
X The defendant si            not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant si            cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0 The defendant si            register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as direc      by the probation officer. (Check, if applicable.)
0 The defendant s]            participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment i       )oses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments         eet of this judgment.
     The defendant m          comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant        not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant        report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant        answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant        support his or her dependents and meet other family responsibilities;
  5)      the defendant         work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable rei
  6)      the defendant        notif' the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant        refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled sul       e or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant        not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant        not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless       ed permission to do so by the probation officer;
 10)      the defendant        permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband o1        d in plain view of the probation officer;
 11)      the defendant sha 1 notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant sh 11 not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the robation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or person history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s comp iance with such notification requirement.
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AO 245B    (Rev. O6/O) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page    4    of          6
DEFENDANT:     MARTELL DEWAN WATSON
CASE NUMBER: 2:07cr145-02-MHT

                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant sh11 submit to a search of his person, residence, office, and vehicle pursuant to the search policy of this
court.             I
                      Case 2:07-cr-00145-MHT-WC Document 147 Filed 10/28/08 Page 5 of 6
AO 245B    (Rev. 06/05) udgment in a Criminal Case
           Sheet 5 - Citiminal Monetary Penalties
                                                                                                   Judgment—Page            5   of       6
DEFENDANT:                        MARTELL DEWAN WATSON
CASE NUMBER:                      2:07cr145-02-MHT
                                              CRIMINAL MONETARY PENALTIES
     The defendant m st pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     ssessment                                        Fine                                    Restitution
TOTALS            $ 0.00
                   1                                                $ 3,000.00                            $


LI The determinatioi of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

LI The defendant mst make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant nakes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the priority order r percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United tates is paid.

Name of Payee                                 Total Loss*                    Restitution Ordered                       Priority or Percenta2e




TOTALS                              $                         0          $                            0


LI Restitution            ti ordered pursuant to plea agreement $

LI The defendant mu4 pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after 4ie date of the judgment, pursuant to 18 U. S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determin d that the defendant does not have the ability to pay interest and it is ordered that:
     X the interest req irement is waived for the X fine LI restitution.

     LI the interest req irement for the LI fine LI restitution is modified as follows:



* Findings for the total amunt of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but 1efore April 23, 1996.
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AO 245B    (Rev. 06/OS) Judgment in a Criminal Case
           Sheet 6— SheduJe of Payments
                                                                                                           Judgment - Page     6     of      6
DEFENDANT:                  MARTELL DEWAN WATSON
CASE NUMBER:                2:07cr145-02-MHT

                                                      SCHEDULE OF PAYMENTS

Having assessed the                 's ability to pay, payment of the total criminal monetary penalties are due as follows:

A x Lump sum                        of$ 3,100.00                  due immediately, balance due

           El notla         than                        or
               in acc      dance              C, o D, 0 E, or                     F below; or

B x Payment to             gin immediately (may be combined with 0 C,                    J D, or X F below); or

C 0 Payment in             [ual _____________ (e.g., weekly, monthly, quarterly) installments of $ _____________ over a period of
                           (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D D Payment in             Lual ______________ (e.g., weekly, monthly, quarterly) installments of $ ______________ over a period of
                           (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
           term of         iision: or

E 0 Payment                   the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
                             The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instnctions regarding the payment of criminal monetary penalties:
           All criminal nonetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
           Office Box 7111, Montgomery, Alabama 36101. Any balance that remains at the start of supervision shall be paid in monthly
           installments tf not less than 250.00.




Unless the court has        ss1y ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetarypenalties is due during
imprisonment. All          inal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Pro         are made to the clerk of the court.

The defendant shall            credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several
     Defendant and Co-              ant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding              if appropriate.




0 The defendant shall              the cost of prosecution.

0 The defendant shall              the following court cost(s):

0 The defendant shall                the defendant's interest in the following property to the United States:




Payments shall be appliedlin the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) comnunity restitution, (7) penalties, and (8) costs, including cost ofprosecution and court costs.
